6'1<&0(&)1H[W*HQ9HUVLRQ                                         3DJHRI
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                            4XHU\   5HSRUWV    8WLOLWLHV   +HOS   :KDW
V1HZ    /RJ2XW

                                 86'LVWULFW&RXUW
                    6RXWKHUQ'LVWULFWRI1HZ<RUN)ROH\6TXDUH
                &5,0,1$/'2&.(7)25&$6(PM8$


&DVHWLWOH86$Y&DSODQ                                      'DWH)LOHG

$VVLJQHGWR-XGJH8QDVVLJQHG

'HIHQGDQW
*RUGRQ&DSODQ                                  UHSUHVHQWHGE\ 3DWULFN-6PLWK
                                                              6PLWK9LOOD]RU//3
                                                              :HVWWK6WUHHWWK)O
                                                              1HZ<RUN1<
                                                              
                                                              )D[
                                                              (PDLO
                                                              SDWULFNVPLWK#VPLWKYLOOD]RUFRP
                                                              LEAD ATTORNEY
                                                              Designation: Retained

                                                                3HWHU6&DQH
                                                                &DQH	$VVRFLDWHV//3
                                                                3DUN$YHQXH)ORRUWK
                                                                1HZ<RUN1<
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                                                                (PDLOSHWHU#FDQHODZFRP
                                                                LEAD ATTORNEY
                                                                Designation: Retained

3HQGLQJ&RXQWV                                                  'LVSRVLWLRQ
1RQH

+LJKHVW2IIHQVH/HYHO2SHQLQJ
1RQH

7HUPLQDWHG&RXQWV                                               'LVSRVLWLRQ
1RQH

+LJKHVW2IIHQVH/HYHO7HUPLQDWHG
1RQH




KWWSVMHQLHDRGFQQ\VGHFIFJLELQ'NW5SWSO"/BB                        
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        Case 1:19-mj-06087-MPK Document 181 Filed 03/26/19 Page 2 of 23


&RPSODLQWV                                                    'LVSRVLWLRQ
)&2163,5$&<72
&200,70$,/$1'+21(67
6(59,&(60$,/)5$8'


3ODLQWLII
86$                                           UHSUHVHQWHGE\ (OL]DEHWK$QQH(VSLQRVD
                                                             '2-86$2
                                                             6W$QGUHZ
V3OD]D
                                                             1HZ<RUN1<
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                                                             (PDLOHOL]DEHWKHVSLQRVD#XVGRMJRY
                                                             LEAD ATTORNEY
                                                             Designation: Assistant US Attorney


 'DWH)LOHG       'RFNHW7H[W
          $UUHVW5XOHFRI*RUGRQ&DSODQGLI(QWHUHG
         58/(F$)),'$9,7RI6HDQ6ZHHQH\6SHFLDO$JHQWZLWKWKH)HGHUDO
                    %XUHDXRI,QYHVWLJDWLRQ
)%,IURPWKH8QLWHG6WDWHV'LVWULFW&RXUW'LVWULFW
                    RI0DVVDFKXVHWWVDVWR*RUGRQ&DSODQ6LJQHGE\-XGJH0DJLVWUDWH-XGJH
                    *DEULHO:*RUHQVWHLQRQGLI0DLQ'RFXPHQWUHSODFHGRQ
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                    DSSHDULQJIRU*RUGRQ&DSODQGLI(QWHUHG
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                    &DSODQDGGHGGLI(QWHUHG
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                    *RUGRQ&DSODQDGGHGGLI(QWHUHG
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                    *RUHQVWHLQ,QLWLDO$SSHDUDQFHLQ5XOHF3URFHHGLQJVDVWR*RUGRQ&DSODQ
                    KHOGRQ'HIW$SSHDUVZLWK5HWDLQHG$WWRUQH\3DWULFN6PLWKDQG
                    3HWHU&DQHDQG$86$(OL]DEHWK(VSLQRVDIRUWKHJRYHUQPHQW$*5(('
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                    6'1<('1<'LVWULFWRI&RQQHFWLFXWDQG'LVWULFWRI0DVVDFKXVHWWV6XUUHQGHU
                    7UDYHO'RFXPHQWV	1R1HZ$SSOLFDWLRQV3UHWULDO6XSHUYLVLRQ$V'LUHFWHG
                    E\376'HIW1RWWR3RVVHVV)LUHDUP'HVWUXFWLYH'HYLFH2WKHU:HDSRQ'HIWWR
                    %H5HOHDVHGRQ2ZQ6LJQDWXUH5HPDLQLQJ&RQGLWLRQVWR%H0HWE\
                    'HIHQGDQWWR$SSHDULQ'LVWULFWRI0DVVDFKXVHWWVRQ0DUFKDW
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                    3RVVHVV)LUHDUP'HVWUXFWLYH'HYLFH2WKHU:HDSRQ'HIWWR%H5HOHDVHGRQ2ZQ
                    6LJQDWXUH5HPDLQLQJ&RQGLWLRQVWR%H0HWE\'HIWWR$SSHDULQ
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